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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC.                            §     CIVIL ACTION No. 19-cv-14666
                                                  §
VS.                                               §     SECTION (E)
                                                  §
M/V DONNA J. BOUCHARD, her tackle,                §     DIVISION (1)
furniture, apparel, appurtenances, etc. in        §
rem, and the Barge B. NO. 272, her tackle,        §     JUDGE: Susie Morgan
furniture, apparel, appurtenances, etc. in        §
rem and BOUCHARD                                  §     MAGISTRATE: Janice van Meerveld
TRANSPORTATION CO., INC. in                       §
personam                                          §

                                             ORDER

       Considering the Plaintiff E.N. Bisso & Son, Inc.’s Emergency Motion To Compel Tug

Donna Bouchard Corp. and/or the Declarant Mr. Morton S. Bouchard, III To Appear and Show

Cause Why the Substitute Custodian Has Failed To Fulfill its Obligations, (the “Motion”), and

finding that the relief requested in the Motion is well founded,

       The Motion is hereby GRANTED;

       IT IS FURTHER ORDERED, ADJUDGED, and DECREED that an emergency

hearing will be held on the 18th day of February, 2020 at 10:30 a.m. at the United States

District Court for the Eastern District of Louisiana, 500 Poydras Street, Courtroom C316,

New Orleans, LA 70130;

       IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Tug Donna J.

Bouchard Corp. (“Donna Bouchard Corp.”) shall appear at such emergency hearing and

show cause why Donna Bouchard Corp. has failed to fulfill its obligations as substitute

custodian in this case; and




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       IT IS FURTHER ORDERED, ADJUDGED, and DECREED that Morton S.

Bouchard, III shall appear at such emergency hearing and show cause why Donna

Bouchard Corp. has failed to fulfill its obligations as substitute custodian in this case.

       New Orleans, Louisiana, this 14th day of February, 2020.




                                               ________________________________
                                                       SUSIE MORGAN
                                                  UNITED STATES DISTRICT
                                                           JUDGE




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